
902 N.E.2d 1080 (2009)
PEOPLE State of Illinois, respondent,
v.
Lurenzo SCOTT, petitioner.
No. 106047.
Supreme Court of Illinois.
March 25, 2009.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in People v. Scott, case No. 1-06-0212 (01/14/08). The appellate court is instructed to reconsider its decision in light of People v. Patrick, case Nos. 104077 &amp; 104445 cons., 2009 WL 153868, ___ Ill.2d ___, ___ Ill.Dec. ___, ___ N.E.2d ___ (opinion filed 01/23/09).
